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                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION
BEVERLY CALHOUN,                          }
                                          }
      Plaintiff,                          }
                                          }
v.                                        }   Case No.: 2:18-cv-00222-MHH
                                          }
SENTRY CREDIT, INC.,                      }
                                          }
      Defendant.                          }


                             SCHEDULING ORDER

       This order is entered under Fed. R. Civ. P. 16(b) based on the parties’ report
of a planning meeting. This order supersedes any prior orders and governs further
proceedings in this action unless modified for good cause shown.

1.    Discovery limitations and deadlines:
      a.   Paper discovery shall proceed according to the provisions of Fed.
           R. Civ. P. 33, 34 and 36.
             The parties must complete the depositions of all named parties no
             later than July 17, 2018.
      b.     Deadline: Unless modified by court order for good cause shown, all
             discovery must be commenced in time to be completed by September
             17, 2018.
             While the Parties do not anticipate that ESI will be significant, the
             Parties will produce ESI, if any, in its native format including
             metadata (such as TIFF or .TIF files, Portable Document Format
             (PDF), Microsoft email communication (PST), etc.) pursuant to an
             agreed upon Protective Order issued by the Court. Production of ESI
             shall be provided on the most convenient format including an
             electronic storage medium (such as CD, DVD, portable hard drive,
             USB flash drive, or other portable storage device). The Parties agree
             that this is necessary so that the Parties are provided with sufficient
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                 information to navigate the data and to verify authorship, authenticity,
                 transmission, and receipt of such ESI in the original and all copies. If
                 advanced search methodologies become necessary, the Parties agree
                 to confer in attempt to reach agreement regarding the method of
                 culling voluminous materials. The Parties agree to cooperate in the
                 development of a list of such terms that will then be run against
                 potentially relevant data sets to determine whether, or to what extent,
                 the terms return a large number of “false hits.” If the producing party
                 claims that production of ESI would be an “undue burden,” the
                 producing party shall raise the issue with the party seeking production
                 as soon as possible. Neither Party shall request reimbursement for the
                 location or production of ESI without first providing an estimate of
                 those costs to the party seeking production and conferring about those
                 costs. If the Parties cannot reach an agreement regarding production
                 or estimated costs, they shall jointly seek guidance from the Court.
2.        Dispositive Motions: All potentially dispositive motions must be filed by
          October 29, 2018, and should be accompanied by a supporting brief.
3.        Dispositive Motion Briefing: When the Court receives a motion that
          requires briefing, the Court shall enter a briefing schedule. Information
          concerning the length of briefs and formatting for briefs appears in the Initial
          Order in this matter.
          In addition to the requirements contained in the Initial Order, the parties’
          briefs in support of or in opposition to summary judgment motions must
          contain citations to the evidentiary record by CM/ECF document and page
          number. To the extent possible, the Court asks the parties to please
          electronically file all evidentiary exhibits in support of and in opposition to
          summary judgment motions before the parties file their summary judgment
          briefs. If a party cannot file evidence electronically before the party files it
          brief, the party shall, within three days of filing a brief, email to chambers
          (haikala_chambers@alnd.uscourts.gov) a Word version of the brief with
          CM/ECF record citations. 1
4.        Additional conference(s): A status conference is scheduled in this matter
          on Monday, September 10, 2018, at 11:30 a.m., in Courtroom 7B, U.S.
          District Court, 1729 5th Avenue North, Birmingham, AL. Out of state
          counsel may participate in the conference by dialing 877-873-8018 and
          entering access code 5313999. Additional conferences, including a pretrial
1
    The Court may alter this procedure for pro se litigants.
                                                   2
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       conference, will be scheduled as needed by separate order. Due dates for
       lists of trial witnesses, exhibits, and objections under Fed. R. Civ. P. 26(a)(3)
       shall be established in a separate pretrial order.
5.     Trial: This case shall be ready for trial by January 2019.

6.     General Considerations: The Court welcomes oral argument. Requests for
       oral argument should be noted on the cover page of a motion/responsive
       brief.

       Before a party files a motion to compel, the Court directs counsel for that
       party to please confer in person or by telephone with opposing counsel to
       discuss disagreements regarding discovery requests. If the parties are unable
       to resolve their dispute during the conference, then the parties shall file a
       joint motion requesting a telephone conference to discuss the discovery
       dispute.2 The joint motion must contain a brief statement regarding the
       nature of the discovery dispute. The parties shall please attach to the motion
       relevant discovery requests and/or responses central to the dispute. The joint
       motion must contain a statement certifying that the parties discussed the
       discovery dispute in person or by telephone and have been unable to resolve
       their disagreements.

       Upon receipt of the joint motion, the Court will set a telephone conference to
       discuss the discovery dispute and will determine whether additional written
       submissions are required to resolve the dispute.

       DONE and ORDERED this May 30, 2018.


                                        _________________________________
                                        MADELINE HUGHES HAIKALA
                                        UNITED STATES DISTRICT JUDGE




2
   If an attorney makes a good faith effort but is unable to contact opposing counsel, then the
attorney may unilaterally file a motion requesting a discovery telephone conference. In such a
case, the moving party must describe in the motion the attorney’s efforts to contact and
coordinate with opposing counsel.
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